




NO. 07-01-0371-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



FEBRUARY 14, 2002



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IN RE RESHAWN L. JOHNSON, RELATOR





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Before BOYD, C.J., and REAVIS and JOHNSON, JJ.

ON MOTIONS FOR LEAVE TO FILE AND ENFORCEMENT OF DECISION

Relator Reshawn L. Johnson previously filed a Petition for Writ of Mandamus asking us to order the Honorable Bradley S. Underwood, Judge of the 364th District Court of Lubbock County, to enter an order on his “Motion for Intra-Loan for Trial Court Transcript” so that he might prepare a pro se post-conviction application for writ of habeas corpus. &nbsp;We conditionally granted that petition. 

Currently before us in the same proceeding is relator’s “Motion for Leave to File Motion to Compel the Court to Recognize Defendant’s Request to Exercise Right to Appeal,” in which he asks us to find that respondent has violated his rights because &nbsp;respondent has failed as of January 7, 2002, to enter an order on his motion for loan of the trial court transcript. &nbsp;Further, he requests that we grant his request for a loan of the trial transcript “solely because Respondent has acted without reference to any guiding rules or principles, and which acts was [sic] arbitrary and unreasonable.” &nbsp;Relator has also filed a &nbsp;“Motion for Enforcement of Decision on Review” in which he asks that we enforce our ruling on his petition for writ of mandamus.

We have received a supplemental record showing that the trial court entered an order denying relator’s “Motion for Intra-Loan Trial Court Transcript” on December 6, 2001. &nbsp;Therefore, relator has received the relief he requested by way of his petition for writ of mandamus, 
i.e.
, the entry of an order by the trial court. &nbsp;His actual request for a loan of the trial court transcript is not properly before the court at this time. &nbsp;For these reasons, relator’s motions are overruled. &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;

Per Curiam

Do not publish.


